Form SUM
                                   UNITED STATES BANKRUPTCY COURT
                                     California Northern Bankruptcy Court

In Re:
Arthur Abezgauz Debtor(s)                                      Bankruptcy Case No.: 23−30329
                                                               Chapter: 7
Elena Koudriavtseva Plaintiff(s)
vs.
Arthur Abezgauz Defendant(s)                                   Adversary Proceeding No. 23−03031

                         SUMMONS AND NOTICE OF SCHEDULING CONFERENCE
                                        IN AN ADVERSARY PROCEEDING
  YOU ARE SUMMONED and required to file a motion or answer to the complaint which is attached to this
summons to the clerk of the bankruptcy court within 30 days after the date of issuance of this summons, except that
the United States and its offices and agencies shall file a motion or answer to the complaint within 35 days.
                                                  Mailing Address:
                                                U.S. Bankruptcy Court
                                           450 Golden Gate Avenue, 18th Fl.
                                                   Mail Box 36099
                                               San Francisco, CA 94102

At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.

                                     Name and Address of plaintiff's attorney

                                                  James J. Ficenec
                                             Newmeyer and Dillion LLP
                                             2033 N. Main St. Suite 500
                                              Walnut Creek, CA 94596

If you make a motion, your time to answer is governed by Bankruptcy Rule 7012.

YOU ARE NOTIFIED that a scheduling conference in the adversary proceeding commenced by filing of the
complaint will be held at the following time and place.

 DATE: October 27, 2023                            TIME: 01:30 PM
 LOCATION: Via Tele/Videoconference, www.canb.uscourts.gov/calendars

IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE
CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY
DEFAULT MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.
PLAINTIFF SHALL PROMPTLY SERVE A COPY OF THE BANKRUPTCY DISPUTE RESOLUTION
PROGRAM INFORMATION SHEET ON ALL PARTIES. A COPY OF THE INFORMATION SHEET IS
AVAILABLE ON THE COURT'S WEBSITE AT WWW.CANB.USCOURTS.GOV AND THE CLERK'S
OFFICE.

                                                           For the Court:

                                                           Edward J. Emmons
                                                           Clerk of Court
                                                           United States Bankruptcy Court




Dated:8/28/23
                                                           Linda Jerge
                                                           Deputy Clerk


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                                           CERTIFICATE OF SERVICE

I,_____________________________________________(name), certify that service of this summons and

copy of the complaint was made _________________________(date) by:



     Mail Service: Regular, first class United States mail, postage fully pre−paid, addressed to:




     Personal Service: By leaving the process with defendant or with an officer or agent of defendent at:




     Residence Service: By leaving the process with the following adult as:




    Certified Mail Service on an Insured Depository Institution: By sending the process by certified mail
   addresses to the following officer of the defendant at:



     Publication:The defendant was served as follows:[Describe briefly]




     State Law:The defendant was served pursant to the laws of State of _________________________,
   as follows:[Describe briefly]




If service was made by personal service,by residence service, or pursuant to state law, I further certify that I am, and
at all times during the service of process was, not less than 18 years of age and not a party to the matter concerning
which service of process was made.



                       Under penalty of perjury, I declare that the foregoing is true and correct.



          Date ___________________               Signature _________________________
                                              Print Name: _________________________
                                         Business Address: _________________________
                                                           _________________________




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